       Case 1:21-cv-10361-GHW-GWG Document 53 Filed 04/22/22 Page 1 of 1


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                                                                         ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                         DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                         DATE FILED: 4/22/2022
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CHRISTIAN DUMONTET, individually and on                          :
behalf of all those similarly situated,                          :
                                                                 :
                                                  Plaintiffs, :              1:21-cv-10361-GHW
                                                                 :
                               -v -                              :                ORDER
                                                                 :
UBS FINANCIAL SERVICES, INC.,                                    :
MATTHEW S. BUCHSBAUM, SCOTT M.                                   :
ROSENBERG, GERARD COSTELLO, and                                  :
SONIA M. ATTKISS,                                                :
                                                                 :
                                               Defendants. :
---------------------------------------------------------------- X

GREGORY H. WOODS, United States District Judge:

         On February 22, 2022, Defendants filed a motion to dismiss the case. Dkt. No. 43. Plaintiff

filed an amended complaint on March 17, 2022. Dkt. No. 47. On April 21, 2022, Defendants filed

a motion to dismiss the amended complaint.

         Accordingly, Defendants’ February 22, 2022 motion to dismiss is denied as

         moot. The Clerk of Court is directed to terminate the motion at Dkt. No. 43.

         SO ORDERED.

 Dated: April 22, 2022                                         _____________________________________
 New York, New York                                                     GREGORY H. WOODS
                                                                       United States District Judge
